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Attorneys for Defendant
JPMorgan Chase Bank, N.A.
                                                     UNITED STATES DISTRICT COURT
SUPERB MOTORS INC., TEAM AUTO SALES                  EASTERN DISTRICT OF NEW YORK
LLC, ROBERT ANTHONY URRUTIA, 189
SUNRISE HWY AUTO LLC, NORTHSHORE                      Case No.: 2:23-cv-6188 (OEM)(JMW)
MOTOR LEASING, LLC, BRIAN CHABRIER,
individually and derivatively as a member of
NORTHSHORE MOTOR LEASING, LLC,
JOSHUA        AARONSON,       individually   and
derivatively as a member of 189 SUNRISE HWY
AUTO, LLC, JORY BARON, 1581 HYLAN
BLVD AUTO LLC, 1580 HYLAN BLVD AUTO
LLC, 1591 HYLAN BLVD AUTO LLC, 1632
HYLAN BLVD AUTO LLC, 1239 HYLAN BLVD
AUTO LLC, 2519 HYLAN BLVD AUTO LLC, 76
FISK STREET REALTY LLC, 446 ROUTE 23
AUTO        LLC      and     ISLAND        AUTO
MANAGEMENT, LLC,

                                       Plaintiffs,
                       v.

ANTHONY DEO, SARAH DEO, HARRY                            NOTICE OF APPEARANCE
THOMASSON,    DWIGHT    BLANKENSHIP,
MARC MERCKLING, MICHAEL LAURIE,
THOMAS JONES, CPA, CAR BUYERS NYC
INC., GOLD COAST CARS OF SYOSSET LLC,
GOLD COAST CARS OF SUNRISE LLC, GOLD
COAST MOTORS AUTOMOTIVE GROUP LLC,
GOLD COAST MOTORS OF LIC LLC, GOLD
COAST MOTORS OF ROSLYN LLC, GOLD
COAST MOTORS OF SMITHTOWN LLC, UEA
PREMIER MOTORS CORP., DLA CAPITAL
PARTNERS INC., JONES, LITTLE & CO.,
CPA’S LLP, FLUSHING BANK, LIBERTAS
FUNDING LLC, and J.P. MORGAN CHASE
BANK, N.A.,

                                    Defendants.
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                  PLEASE TAKE NOTICE that Anthony C. Valenziano, Esq., of the law firm of

Sherman Atlas Sylvester & Stamelman LLP, enters an appearance on behalf of defendant

JPMorgan Chase Bank, N.A. in the above-captioned matter and requests that all Notices of

Electronic Filing and other papers required to be served in this action be served upon the

undersigned at avalenziano@shermanatlas.com.



                                           Respectfully Submitted,


                                           By:   /s/Anthony C. Valenziano
DATED: December 12, 2023                            Anthony C. Valenziano


4893-4675-8806, v. 1




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